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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   05-10121-15-MLB
                                             )
CHRISTIAN D. WEBER,                          )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
I.    INTRODUCTION
       Christian Weber was one of ten defendants indicted on November
16, 2005 for conspiracy to distribute methamphetamine, possession with
intent to distribute methamphetamine, using a communication facility
to violate 21 U.S.C. §§ 841(a)(1) and 846. (Doc. 14).1                   Weber claims
that since his initial appearance before the court, he has remained
in custody for a length of time beyond that proscribed by the Speedy
Trial Act, 18 U.S.C. § 3161 et seq.                 (Doc. 107).       Weber has also
appealed Magistrate Bostwick’s detention order.                   (Doc. 118).   This
case is currently before the court upon defendant’s motion to dismiss
the indictment and revoke or amend the detention order (Docs. 107,
118).       For the reasons stated, defendant’s motions are DENIED.
II.    ANALYSIS
       A.      Speedy Trial Act
       “The Speedy Trial Act [in 18 U.S.C. § 3161] requires that the

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       The superseding indictment (Doc. 14) has now been superseded.
(Doc. 111).    The second superseding indictment contains fifteen
defendants. The second superseding indictment contains additional
counts against defendant for possession of a firearm and ammunition.
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trial of a criminal defendant commence within seventy days of the
filing of the indictment, or from the date that the defendant first
appears before a judicial officer, whichever is later.” United States
v. Gomez, 67 F.3d 1515, 1519 (10th Cir. 1995); see also United States
v. Lugo, 170 F.3d 996, 1001 (10th Cir. 1999).               This rule is subject
to multiple exceptions rendering excludable any time required to
determine defendant’s mental competency, to adjudicate defendant’s
pretrial motions, or to transport defendant to a place of examination
except when delays in transportation exceed ten days.                 See 18 U.S.C.
§ 3161(h) (listing excludable delay).                Defendant’s remedy for a
violation of § 3161 requires dismissal of the indictment, with or
without prejudice.            See 18 U.S.C. § 3162(a)(2) (stating that a
violation requires dismissal and noting factors to aid the court in
determining whether to dismiss with or without prejudice); see also
United    States   v.   Jones,    213   F.3d   1253,    1256    (10th   Cir.   2000)
(affirming the district court’s dismissal of the indictment without
prejudice after a violation of the Speedy Trial Act).
       To determine whether defendant’s length of time in custody
violated his rights under § 3161, the court must first decide when the
seventy-day clock began to tick.          Prior to the case currently before
the court, defendant was indicted in 05-10079 on May 3, 2005.                  (Case
No. 05-10079, Doc. 1). Defendant’s initial appearance occurred on May
6.    The relevant time period for analysis under § 3161 begins when an
indictment is filed, or when the defendant first appears before a
judicial officer, whichever is later.           See 18 U.S.C. § 3161(c)(1). At
that time, however, the government moved for an order of detention.
“[D]elay resulting from any pretrial motion, from the filing of the

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motion through the conclusion of the hearing on . . . such motion” is
excludable.      18 U.S.C. § 3161(h)(1)(F).             On May 9, 2005, the court
ordered defendant detained. Defendant’s nonexcludable time thus began
on May 10.       On May 27, defendant moved for reconsideration of the
detention order.       (Case No. 05-10079, Doc. 12).               The filing of the
motion stopped the clock for speedy trial purposes.                  See Henderson v.
United States, 476 U.S. 321, 330 (1986) (“Congress intended . . . to
exclude from the Speedy Trial Act’s 70-day limitation all time between
the filing of a motion and the conclusion of the hearing on that
motion, whether or not a delay in holding that hearing is ‘reasonably
necessary.’”) The motion was not ruled on and the case was dismissed
on June 3. Accordingly, the total amount of nonexcludable days during
case 05-10079 was seventeen (17).
       Defendant was subsequently indicted in the current case on
November 16, 2005.            Defendant argues that the nonexcludable time
period started on defendant’s first appearance before the court on
December 6, 2005 (Doc. 107, p. 5).                  The United States contends,
however, that the period from December 6 to December 12 was excludable
since a co-defendant, Maria Delsocorro, filed an appeal of her
detention order with this court.           Both parties agree the time period
of    December   13   until     January   5,     2006   was    nonexcludable.    The
government contends that the excludable time again began on January
6, when Delsocorro moved for a continuance.                   The government asserts
that the excludable time has continued since the court granted the
motion to continue on January 25.               (Doc. 105).       Defendant, however,
asserts that the excludable time contributed to his co-defendants is
not attributable to him since defendant did not join in the motions.

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If defendant’s co-defendants’ excludable time is attributed to him,
than the nonexcludable days would total forty (40). However, if those
days cannot be attributed to defendant, than the nonexcludable days
would total ninety-four (94).
        The relevant part of 18 U.S.C. § 3161 reads in full:
        (h) The following periods of delay shall be excluded in
        computing the time within which an information or an
        indictment must be filed, or in computing the time within
        which the trial of any such offense must commence:
        (7) A reasonable period of delay when the defendant is
        joined for trial with a codefendant as to whom the time for
        trial has not run and no motion for severance has been
        granted.
        The   Tenth   Circuit    has    instructed       that     “[t]he    question      in
examining an exclusion under § 3161(h)(7) is whether the delay
attributable to the codefendant is "’reasonable.’"                    United States v.
Vogl,    374   F.3d    976,   983-84     (10th    Cir.       2004).     To       make   this
determination,        the   district     court        must    examine      all    relevant
circumstances, which include: “(1) whether the defendant is free on
bond, (2) whether the defendant zealously pursued a speedy trial, and
(3) whether the circumstances further the purpose behind the exclusion
to    accommodate     the   efficient    use     of    prosecutorial       and    judicial
resources in trying multiple defendants in a single trial.”                         Id. at
984.
        While defendant is not free on bond, he has failed to zealously
pursue a speedy trial. Defendant has not moved for severance from his
codefendants, but has merely filed this motion.                   See United States v.
Tranakos, 911 F.2d 1422, 1426 (10th Cir. 1990).                       In reviewing the
third factor, the inquiry is heavily factual.                  Vogl, 374 F.3d at 984.
The Tenth Circuit has instructed that the court must consider whether

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“the government will recite a single factual history, put on a single
array of evidence, and call a single group of witnesses.”                   Id.
     This case is comprised of fifteen defendants and a total of
forty-five counts.      The second superseding indictment alleges that
defendant Medina-Montes was the organizer of a criminal conspiracy to
distribute methamphetamine.         (Doc. 111).   Defendant was one member of
the conspiracy.     While defendant is only charged in ten of the forty-
one counts, he is named in an additional eight counts as the subject
of a number of telephone calls conducted by his alleged codefendants.
The court granted the motion for a continuance, filed by eight
defendants,2 after finding that the evidence consisted of several
thousand calls intercepted by an authorized wiretap and the majority
of those calls were in Spanish and required translation.                (Doc. 105).
Defense   counsel   sought    the    continuance     in   order    to   adequately
investigate the evidence.       Based on the information presented in the
second superseding indictment and at the hearing on the motion for a
continuance, the court has determined that the efficient use of
prosecutorial and judicial resources is in trying these defendants in
a single trial. Moreover, this case is currently set for trial on May
16 and no defendant has sought a continuance of that trial date.
     The court concludes that attributing the excluable time of the
co-defendants to defendant is reasonable under section 3161(h)(7).
Therefore, because no Speedy Trial Act violation has occurred in the
prosecution of Delsocorro, none has occurred in the prosecution of


     2
       At the time the court heard the motion for continuance, the
case only included ten defendants. Out of those defendants, eight of
the ten moved for a continuance. See Doc. 105.
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defendant.     Defendant’s motion to dismiss (Doc. 107) is denied.
     B.       Detention Order
     By statute, 18 U.S.C. § 3145(b), a defendant detained by a
magistrate judge may seek review before the district court having
original jurisdiction of the charged offense.                  This is a de novo
review of the magistrate judge's order.            United States v. Lutz, 207
F. Supp.2d 1247, 1251 (D. Kan. 2002). The district court decides both
the facts and the propriety of detention anew without deference to the
magistrate judge's findings.          Id.   De novo review does not require a
de novo evidentiary hearing. Id.
     Under the Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., the
court must order an accused's pretrial release, with or without
conditions, unless it "finds that no condition or combination of
conditions will reasonably assure the appearance of the person as
required and the safety of any other person and community." See 18
U.S.C.    §   3142(b),   (c),   and    (e).      The    government     must   prove
dangerousness to any other person or the community by clear and
convincing evidence.       United States v. Burks, 141 F. Supp.2d 1283,
1286 (D. Kan. 2001). In making this determination, the court is to
consider "the available information" on the following four factors:
the nature and circumstances of the offense, including whether the
offense is a crime of violence or involves a narcotic drug; the weight
of the evidence; the history and characteristics of the person; and
the nature and seriousness of the danger to any person or the
community posed by a release on conditions.             18 U.S.C. § 3142(g).
     The Bail Reform Act, specifically 18 U.S.C. § 3142(e), recognizes
a rebuttable presumption of risk of flight or danger to the community

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upon a finding "that there is probable cause to believe that the
person committed an offense for which a maximum term of imprisonment
of ten years or more is prescribed by the Controlled Substances Act
(21 U.S.C. §§ 801 et seq.),. . . ."       A grand jury indictment charging
such an offense is enough to trigger this presumption.            United States
v. Stricklin, 932 F.2d 1353, 1355 (10th Cir. 1991); United States v.
Walters, 89 F. Supp.2d 1217, 1220 (D. Kan. 2000). The presumption
operates as follows:
          Once the presumption is invoked, the burden of
     production shifts to the defendant. However, the burden of
     persuasion regarding risk-of-flight and danger to the
     community always remains with the government. The
     defendant's burden of production is not heavy, but some
     evidence must be produced. Even if a defendant's burden of
     production is met, the presumption remains a factor for
     consideration by the district court in determining whether
     to release or detain.
Stricklin, 932 F.2d at 1354-55 (citations omitted).
     Count two of the indictment charges defendant with conspiracy "to
distribute controlled substances" in violation of 21 U.S.C. § 846.
Count thirty-six charges defendant with possession with intent to
distribute 175 grams of methamphetamine in violation of 21 U.S.C. §
841(a)(1).   Defendant is also charged with using a facility, i.e. the
telephone, to commit a felony, firearm and ammunition possession.
(Doc. 111, counts 13, 23, 26-27, 37-40).         Count two alone charges an
offense under the Controlled Substances Act that carries a maximum
term of imprisonment of ten years or more.
     Defendant's initial "burden of production ... is to offer some
credible evidence contrary to the statutory presumption." United
States v. Walters, 89 F. Supp.2d at 1220. Of course, the burden of
proof remains with the government to show there is no condition or

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combination of conditions that would reasonably assure the accused's
presence in later proceedings and/or the safety of other persons and
the community.       Lutz, 207 F. Supp.2d at 1251.         Defendant has failed
to meet his burden of production. Defendant has merely proffered that
he will live with his father, attend drug treatment and obtain a job.
The court is not persuaded.         Defendant did not seek employment after
first indictment was dismissed. Moreover, defendant sought treatment
previously but has now been charged with possession since treatment.
In addition to being charged with intent to distribute a large
quantity   of   methamphetamine      defendant,     upon   his   arrest,     was   in
possession of a semi-automatic pistol and ammunition.
      The court finds that no condition or combination of conditions
will reasonably assure the appearance of the person as required and
the   safety    of   any    other   person    and   community.        Accordingly,
defendant’s motion to amend or revoke the detention order (Doc. 118)
is denied.
III. CONCLUSION
      Defendant’s motion to dismiss (Doc. 107) and motion to amend or
revoke the detention order (Doc. 118) are denied.


      IT IS SO ORDERED.
      Dated this      4th     day of April 2006, at Wichita, Kansas.


                                             s/ Monti Belot
                                             Monti L. Belot
                                             UNITED STATES DISTRICT JUDGE




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